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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  JULIE A. SU,
  Acting Secretary of Labor, Department of
  Labor,
                                                 23-cv-2119 (NRM) (MMH)
                    Plaintiff,
                                                 MEMORANDUM AND ORDER
               v.

  ADVANCED CARE STAFFING, LLC,
  PRIORITY CARE STAFFING, LLC, and
  SAM KLEIN, an individual,

                    Defendants.




 NINA R. MORRISON, United States District Judge:

        Plaintiff Julie A. Su, Acting Secretary of Labor (“Department of Labor” or

 “DOL”) brings this suit against Advanced Care Staffing, LLC (“ACS”), Priority Care

 Staffing, LLC (“PCS”), and the CEO of both ACS and PCS (and owner of PCS), Samuel

 Klein (collectively “Defendants”). See Am. Compl. at ¶¶ 15–46, ECF No. 19. ACS and

 PCS are staffing agencies that recruit healthcare workers, sometimes from abroad,

 to work at medical facilities. Id. at ¶¶ 47, 56, 65. DOL alleges that Defendants

 require employees to sign contracts that require a three-year work commitment. Id.

 at ¶ 1. If employees leave their employment before the term expires, the contracts

 entitle Defendants to recover, among other things, “loss of anticipated profits” from

 employees. Id. at ¶¶ 79, 131. DOL contends that this provision violates the Fair

 Labor Standards Act (“FLSA”) by converting employees’ wages “into nothing more



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 than a loan that employees must repay with interest and fees, leaving some

 employees with no compensation at all, much less the wages required by the FLSA.”

 Id. at ¶ 1.

        Defendants move to dismiss on three grounds: (1) DOL lacks standing because

 the employees whose interests it seeks to vindicate in this litigation have not suffered

 any injury; (2) DOL fails to state a plausible claim because it does not allege that any

 employee has received less than the minimum wage or overtime wage the FLSA

 requires; and (3) DOL fails to state a plausible claim because potential breach of

 contract damages do not constitute “kick-backs” of earned wages under the

 FLSA. Mem. of L. in Supp. of Mot. to Dismiss (“Opening Br.”), ECF No. 28-1. For

 the reasons to follow, the Court denies Defendants’ motion to dismiss.

                                    BACKGROUND

        I.     Complaint

        On March 20, 2023, DOL commenced the instant action against ACS and Sam

 Klein. Compl., ECF No. 1. DOL filed an amended complaint on July 20, 2023, which

 added claims against PCS. See Am. Compl. DOL’s amended complaint (hereinafter

 “Complaint”) alleges the following facts. 1


        1 Defendants submitted various exhibits in support of their motion to dismiss,

 including Vidal’s and Miclat’s employment agreements, emails between Defendants
 and Vidal, and the arbitration demands against Vidal and Miclat. Because courts
 can consider documents that a plaintiff relies on in drafting the complaint, Chambers
 v. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002), and the parties agree that
 these documents were “relied on in the Complaint,” Mem. of L. in Opp’n to Mot. to
 Dismiss (“Opp’n Br.”) at 16 n.11, ECF No. 29, the Court considers Defendants’
 exhibits. Accordingly, where relevant, the Court incorporates facts drawn from the
 exhibits to Defendants’ motion to dismiss in its summary of the allegations in DOL’s
 Complaint.
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       ACS and PCS (collectively, the “Staffing Companies”) are staffing agencies that

 recruit and place healthcare workers in positions at medical facilities. Am. Compl.

 at ¶¶ 47, 56. The companies share management, follow the same hiring practices,

 and use identical contracts. Id. at ¶ 64. They also use the same international

 department that recruits nurses from the Philippines and elsewhere to work for the

 companies. Id. at ¶ 65.

       As relevant here, the Complaint includes the following allegations as to the

 Staffing Companies’ contracts and employment practices, which the Court accepts as

 true for purposes of deciding Defendants’ motions to dismiss.

              A.    Allegations as to ACS

       In or around 2019, ACS began recruiting Benzor Vidal from the Philippines to

 work as a registered nurse in the United States. Id. at ¶¶ 71, 77. Before Vidal moved

 to the United States, he signed a contract with ACS. Vidal first signed a contract

 that contained a $20,000 liquidated damages clause in the event he stopped working

 for ACS prior to a three-year contract term. Id. at ¶ 73. In 2022, shortly before

 moving to the United States to work for ACS, Vidal signed a new contract, which

 superseded the earlier contract. Id. at ¶¶ 72–73. According to Klein, who sent Vidal

 the contract, the 2022 contract “allows for recovery of whatever damages are proven

 (which might be higher or lower than the amount specified in the older version).” Id.

 at ¶ 76.

       The 2022 contract includes provisions stating that ACS will prepare, submit,

 and pay for an employment-based immigrant visa petition for Vidal, ACS Contract at



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 3, ECF No. 28-2, and advance Vidal certain costs relating to relocating and working

 as a nurse, id. at 4. However, the contract states that if Vidal fails to complete a

 three-year term of employment without “Good Reason,” ACS intends to recover

 expenses relating to the visa petition and advanced costs, as well as “loss of profits

 (reflecting not only loss of anticipated profits under this Agreement but also resulting

 from the impact on Employer’s relationship with its Clients).” Id. at 7. The contract

 defines “Good Reason” as “a failure by Employer to correct a material breach” of the

 contract provisions requiring ACS to pursue an employment-based visa and pay

 wages within 35 days of receiving written notice of such breach. Id. The contract

 further states that nearly any dispute between ACS and Vidal “shall be resolved by

 arbitration” administered by the American Arbitration Association (“AAA”) under its

 Commercial Arbitration Rules. Id. at 12. The contract entitles the prevailing party

 in the arbitration to “reasonable attorney’s fees as well as all costs and fees charged

 by the AAA and the arbitrator,” id., and requires Vidal to “reimburse [ACS] for all

 reasonable costs, including all attorneys’ fees that Employer incurs in enforcing its

 rights and remedies,” id. at 8.

       Vidal signed the contract and began working at Downtown Brooklyn Nursing

 and Rehabilitation Center (“DBNRC”) on or about March 8, 2022. Am. Compl. at ¶

 87. During his tenure at DBNRC, Vidal raised concerns about the working conditions

 at the facility to both ACS and DBNRC. Id. at ¶ 89. “[F]aced with a good-faith belief

 that he could not continue to work under” those conditions, Vidal then notified ACS

 on June 15, 2022, that he was resigning, effective June 29, 2022. Id. at ¶ 91. Vidal’s



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 resignation letter “reiterated his serious safety concerns associated with the working

 conditions” and cited physical and mental health effects he attributes to those

 conditions. Id. at ¶ 92.

       ACS sent Vidal a letter on June 22, 2022, demanding that Vidal continue to

 work and threatening that if he stopped working, ACS would initiate an arbitration,

 begin to incur arbitration costs and attorneys’ fees which it would then seek to

 recover, and seek over $9,000 in future profits per year through the remainder of

 Vidal’s three-year term (which DOL estimates would amount to over $24,000). Am.

 Compl. at ¶¶ 95–99; Letter dated June 22, 2022 (“June 22 Letter”), ECF No. 28-

 3. The $24,000 amount alone is equal to, if not more than, the amount Vidal earned

 during his entire period of employment with ACS. Am. Compl. at ¶ 99.

       Then, on July 8, 2022, ACS filed an arbitration demand against Vidal, which

 demanded “all available damages, including, without limitation, [ACS’s] Advanced

 Costs and lost profits; reasonable attorneys’ fees; cost of arbitration;” and “interest in

 accordance with New York Law.” Vidal Arbitration Demand at 7, ECF No. 28-7. In

 terms of the arbitration costs, ACS incurred a $1,900 filing fee and a $750 case

 management fee in connection with the arbitration against Vidal, and the hourly rate

 of the appointed arbitrator was stated to be $450/hour. Am. Compl. at ¶¶ 103–04.

       On the week ending April 9, 2022, Vidal worked overtime and was paid

 $1,480.50 in gross wages for 40.75 hours. Id. at ¶ 110. During his last week of work,

 Vidal earned $839.04 in gross wages for 22.08 hours. Id. at ¶ 105. Vidal was paid

 $20,372.90 in gross wages for the 512.51 total hours he worked at ACS. Id. at ¶¶



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 108–09. If ACS’s future profits, attorneys’ fees, arbitration costs, and interest were

 deducted from those earnings, his net wages would be below the FLSA minimum

 wage rate for his final week of work, and below the FLSA minimum wage and

 required overtime rate for his entire period of employment. Id. at ¶¶ 106–07.

       According to the Complaint, “ACS and Klein have a policy and practice of

 entering into contracts with employees with identical or substantially similar

 contract provisions to the 2022 contract with Vidal,” and, “[o]n information and belief,

 ACS has followed through on those contracts by clawing back former employees’

 wages, obtaining the return of those wages and bringing employees’ compensation

 below the levels required by FLSA.” Id. at ¶¶ 112–13.

              B.     Allegations as to PCS

       The Staffing Companies recruited Cherry Lyn Miclat from the Philippines to

 work as a registered nurse in the United States. Id. at ¶ 115. Like Vidal, Miclat first

 signed a contract with ACS in 2019 that included a $20,000 liquidated damages

 clause. Id. at ¶ 118. In 2021, Klein sent Miclat a new contract on behalf of PCS with

 virtually identical terms to the 2022 contract that Vidal signed with ACS. Id. at ¶¶

 122–36. Klein told Miclat, like he told Vidal, that the new contract “allows for

 recovery of whatever damages are proven (which might be higher or lower than the

 amount specified in the older version).” Id. at ¶ 128.

       Miclat began to work for PCS at Morningside Nursing and Rehabilitation

 Center (“MNRC”) on March 1, 2022, where she quickly received an enormous

 workload without sufficient help or training. Id. at ¶ 139. Miclat repeatedly



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 complained about the unsafe and unreasonable conditions at MNRC to PCS and

 MNRC staff and unsuccessfully requested to be transferred to other facilities. Id. at

 ¶¶ 141–50. Eventually, based on these concerns, she resigned on October 27, 2022.

 Id. at ¶¶ 151–53. Miclat last worked for PCS on November 19, 2022. Id. at ¶ 154.

        PCS filed an arbitration demand against Miclat on December 5, 2022,

 demanding “all available damages, including, without limitation, [PCS’s] Advanced

 Costs and lost profits; reasonable attorneys’ fees; cost of arbitration” and “interest in

 accordance with New York Law.” Miclat Arbitration Demand at 8, ECF No. 28-5. As

 part of those arbitration costs, PCS incurred a $2,200 filing fee in connection with the

 arbitration and, if the arbitration proceeds, will incur a $750 case management

 fee. Am. Compl. at ¶ 157.

        On the weeks ending June 25, 2022, July 23, 2022, and November 12, 2022,

 Miclat worked overtime. Id. at ¶¶ 161–63. In those weeks, she earned $2,987.18 in

 gross wages for 65.74 hours, $2,994.59 in gross wages for 65.87 hours, and $2,166.95

 in gross wages for 51.35 hours, respectively. Id. And in her last week of work, Miclat

 was paid $1,385.10 in gross wages for 36.45 hours of work. Id. at ¶ 159. The “demand

 that Miclat kick back her wages to satisfy PCS’s future profits through February

 2025, together with PCS’s attorneys’ fees and arbitration costs, plus interest, would

 bring Miclat below the FLSA minimum wage during her final workweek.” Id. at ¶

 160.

        As with ACS, the Complaint alleges that “PCS and Klein have a policy and

 practice of entering into contracts with employees with identical or substantially



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 similar contract provisions to the 2021 contract with Miclat,” and, “[o]n information

 and belief, PCS has followed through on those contracts by clawing back former

 employees’ wages, obtaining the return of those wages and bringing employees’

 compensation below the levels required by the FLSA.” Id. at ¶¶ 165–66.

              C.     Causes of Action and Prayer for Relief

       Based on the foregoing allegations, DOL alleges that Defendants violated

 Section 6(a) of the FLSA, which requires every employer engaged in commerce to pay

 their employees minimum wage, 29 U.S.C. § 206(a), and Section 7(a) of the FLSA,

 which requires employers to pay employees at a rate of at least one and one-half times

 the regular rate at which he is employed if the employee works more than forty hours

 per week, 29 U.S.C. § 207(a). Id. at ¶¶ 167–72. The FLSA wage requirements will

 not be met “where the employee ‘kicks-back’ . . . to the employer . . . for the employer’s

 benefit the whole or part of the wage delivered to the employee,” and unless wages

 “are paid finally and unconditionally or ‘free and clear.’” 29 C.F.R. § 531.35. DOL

 contends that by demanding employees pay Defendants damages that account for

 anticipated future profits, arbitration costs, and attorneys’ fees upon their early

 departure from employment, Defendants are illegally requiring the employees to

 “kick-back” wages, which brings their wages below the FLSA minimum and overtime

 wage requirements. Am. Compl. at ¶¶ 168, 171.

       DOL seeks a declaration that Defendants’ contract violates the FLSA,

 injunctive relief permanently restraining Defendants from violating Sections 6, 7,

 11(c), 15(a)(2), and 15(a)(5) of FLSA, and award of damages. Id. at 22–23.



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       II.    Related Proceedings

       Vidal and Miclat have filed separate actions against Defendants based on

 many of the same facts underlying this case. See Complaint, Vidal v. Advanced Care

 Staffing, LLC, No. 22-cv-5535, ECF No. 1 (E.D.N.Y. Sept. 16, 2022); Complaint,

 Miclat v. Advanced Care Staffing, LLC et al, No. 23-cv-5296, ECF No. 1 (E.D.N.Y.

 July 12, 2023). The Court granted a preliminary injunction pausing the arbitration

 brought against Vidal by ACS. Vidal v. Advanced Care Staffing, LLC, No. 22-cv-

 05535, 2023 WL 2783251, at *1 (E.D.N.Y. Apr. 4, 2023). PCS then “voluntarily

 entered into a stay of Miclat’s pending arbitration in light of the proceedings in

 Vidal.” Mot. to Stay at 1, Miclat v. Advanced Care Staffing, LLC et al, 23-cv-5296,

 ECF No. 15 (E.D.N.Y. Aug. 9, 2023). The Second Circuit has since affirmed this

 Court’s entry of a preliminary injunction in Vidal’s case, see Vidal v. Advanced Care

 Staffing, LLC, No. 23-303, 2024 WL 980634, at *2 (2d Cir. Mar. 7, 2024), and the

 arbitrations against Vidal and Miclat remain paused.

       III.   Motion to Dismiss

       On September 28, 2023, Defendants filed a fully briefed motion to dismiss

 based on lack of subject matter jurisdiction and failure to state a claim. See Mot. to

 Dismiss, ECF No. 28; Mem. of L. in Opp’n to Mot. to Dismiss (“Opp’n Br.”), ECF No.

 29; Reply Br., ECF No. 30. Defendants argue that the Complaint should be dismissed

 for lack of subject matter jurisdiction under Rule 12(b)(1), and for failure to state a

 claim under Rule 12(b)(6).




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                                    LEGAL STANDARD

        “In considering a facial motion to dismiss [for lack of Article III standing] under

  Rule 12(b)(1), the Court must ‘determine whether the [complaint] alleges facts that

  affirmatively   and   plausibly    suggest    that   the   plaintiff    has   standing   to

  sue.’” Bloomberg Fin. L.P. v. UBS AG, 358 F. Supp. 3d 261, 277 (S.D.N.Y. 2018)

  (quoting Carter v. HealthPort Techs., LLC, 822 F.3d 47, 56–57 (2d Cir. 2016)). “The

  Court must accept as true all material factual allegations of the complaint and draw

  all reasonable inferences in favor of the plaintiff.” Id. (cleaned up). Moreover, to

  demonstrate Article III standing, the party invoking federal jurisdiction must

  plausibly plead (1) an injury in fact; (2) a causal connection between the injury and

  conduct complained of; and (3) that it is likely that the injury will be redressed by a

  favorable decision. Id. “At the pleading stage, general factual allegations of injury

  resulting from the defendant’s conduct may suffice, for on a motion to dismiss,” the

  court presumes “‘that general allegations embrace those specific facts that are

  necessary to support the claim.’” Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992)

  (quoting Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 889 (1990)).

        To survive a 12(b)(6) motion to dismiss, a plaintiff “must plead facts sufficient

  to show that her claim has substantive plausibility.” Johnson v. City of Shelby, Miss.,

  574 U.S. 10, 12 (2014). When considering a motion to dismiss under Rule 12(b)(6) for

  failure to state a claim, the court “accept[s] as true all factual statements alleged in

  the complaint and draw[s] all reasonable inferences in favor of the non-moving

  party.” McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184, 191 (2d Cir. 2007).



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                                     DISCUSSION

        Defendants bring three arguments as to why DOL’s claims should be

  dismissed. They argue that (1) DOL lacks standing to bring its claims because it does

  not allege a concrete and particularized harm, Opening Br. at 9–13; (2) DOL’s

  Complaint fails to state a plausible claim because it does not allege that any employee

  actually received less than the minimum wage or overtime wage required by the

  FLSA, id. at 14–18; and (3) DOL’s Complaint fails to state a plausible claim because

  potential breach of contract damages are not “kick-backs” of earned wages, id. at 18–

  26.   Because the Court finds each of these arguments unavailing, it denies

  Defendants’ motion.

        I.     Standing

        As mentioned above, to demonstrate Article III standing, a party must

  plausibly plead (1) an injury in fact; (2) a causal connection between the injury and

  conduct complained of; and (3) that it is likely that the injury will be redressed by a

  favorable decision. Lujan, 504 U.S. at 560–61.        Defendants argue that DOL’s

  Complaint must be dismissed for lack of subject matter jurisdiction because it cannot

  demonstrate that the employees whose interests it asserts in this litigation have

  suffered an injury in fact, the first of three required elements for establishing

  standing.

        According to Defendants, neither Vidal nor Miclat has suffered any concrete

  injury because their arbitrations have not gone forward and, as a result, they have

  not been required to pay Defendants any sum of money. Instead, Defendants point

  out that a number of uncertain events must occur before Vidal and Miclat suffer an
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  FLSA violation: (1) an arbitration would have to proceed; (2) Defendants would have

  to prevail at arbitration; (3) Defendants would have to prove damages; and (4) those

  damages would have to bring Vidal’s and Miclat’s wages under FLSA-required

  minimums. Defendants argue that this chain of events is too speculative to satisfy

  Article III standing.

        DOL contends that this argument fails for two reasons. First, DOL argues that

  it has standing because it is enforcing federal law under Article II; and (2) even if the

  traditional standing requirements apply to DOL, its Complaint can satisfy them. The

  Court addresses each argument in turn.

               A.     DOL Has Standing to Enforce the FLSA on Behalf of the
                      Aggrieved Employees

        DOL first argues that Defendants’ challenge to DOL’s standing under the

  three-part Article III test that applies to private plaintiffs is the wrong framework.

  It argues instead that it has standing to bring suit because it is exercising its

  authority under Article II of the U.S. Constitution, which Congress recognized when

  enacting the FLSA. DOL points to the text of the FLSA itself, which specifically

  confers upon DOL the authority to “bring an action in any court of competent

  jurisdiction to recover” unpaid minimum wages or overtime compensation and

  liquidated damages, 29 U.S.C. § 216(c), and the exclusive authority to seek

  injunctions restraining violations of the FLSA, 29 U.S.C. §§ 211(a), 217.

        In support of this argument, DOL cites TransUnion LLC v. Ramirez, 594 U.S.

  413, 429 (2021), wherein the Supreme Court described the Article III injury

  requirement for private plaintiffs as distinct from the Executive Branch’s Article II

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  authority. The Court explained that requiring private plaintiffs to demonstrate an

  injury in fact prevents infringement “on the Executive Branch’s Article II authority”

  to determine “how to prioritize and how aggressively to pursue legal actions against

  defendants who violate the law” because, unlike the Executive Branch, “[p]rivate

  plaintiffs are not accountable to the people and are not charged with pursuing the

  public interest in enforcing a defendant’s general compliance with regulatory law.”

  Id. (citing Lujan v. Defenders of Wildlife, 504 U.S. at 577). Put differently, because

  the U.S. Constitution charges the Executive with “tak[ing] Care that the Laws be

  faithfully executed,” U.S. Const. art. II, § 3, the Executive has “a judicially cognizable

  interest in the enforcement and defense of federal law,” Tara Leigh Grove, Standing

  Outside of Article III, 162 U. Pa. L. Rev. 1311, 1322 (2014). As such, “the executive

  may assert in court the federal government’s sovereign interests without satisfying

  the injury, causation, or redressability requirements that the judiciary applies to

  other actors.” Id.

        Defendants dispute DOL’s claim that the FLSA’s text confers standing on DOL

  here. Notably, however, Defendants have been unable to point to a single case—in

  their briefing or at oral argument — in which any court has held that, despite the

  FLSA’s express delegation of authority to DOL to bring enforcement actions, DOL

  must nevertheless satisfy the traditional Article III standing requirements. Nor have

  Defendants been able to locate any other case in which a party has even challenged

  DOL’s standing to seek relief on behalf of aggrieved employees in an FLSA

  enforcement action, as Defendants do here.



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        In the absence of such authority, and in light of the Executive’s “constitutional

  duty[] to ‘take Care that the Laws be faithfully executed,’” Lujan, 504 U.S. at 577

  (quoting U.S. Const. art. II, § 3), the Court declines Defendants’ invitation to impose

  additional constraints on the authority Congress has expressly given DOL to bring

  suit to enforce the FLSA.

        Defendants’ challenge to DOL’s standing thus fails.          In an abundance of

  caution, however, the Court proceeds to consider whether DOL satisfies the

  traditional Article III standing requirements—and specifically whether Defendants

  are correct in claiming that the employees described in the complaint have suffered

  no “injury” sufficient to confer standing.

               B.     The Complaint Plausibly Alleges an Injury to Defendants’
                      Employees Sufficient to Confer Standing

        DOL argues that it has standing because, in the alternative, it satisfies the

  injury requirements “more generally applicable to private plaintiffs.” Opp’n Br. at 5.

  DOL contends that the employees on whose behalf it brings the lawsuit can establish

  “injury in fact.” Spokeo, Inc. v Robins, 578 U.S. 330, 339 (2016). The Court agrees

  that DOL has standing under the traditional Article III framework.

        To start, the Complaint alleges sufficient facts regarding the threat of future

  injury to Vidal and Miclat to satisfy standing for injunctive and declaratory relief.

  “Standing under Article III of the Constitution requires that an injury be concrete,

  particularized, and actual or imminent[.]” Monsanto Co. v. Geertson Seed Farms, 561

  U.S. 139, 149 (2010). “Although imminence is concededly a somewhat elastic concept,

  it cannot be stretched beyond its purpose, which is to ensure that the alleged injury

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  is not too speculative for Article III purposes — that the injury is certainly

  impending.”    Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (citation

  omitted). Therefore, “[a]n allegation of future injury may suffice if the threatened

  injury is certainly impending, or there is a substantial risk that the harm will occur.”

  Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014) (cleaned up). Moreover,

  where “plaintiffs seek declaratory and injunctive relief,” they “must show [they are]

  suffering an ongoing injury or face[] an immediate threat of injury” to satisfy Article

  III standing. Dearth v. Holder, 641 F.3d 499, 501 (D.C. Cir. 2011) (citation omitted). 2

        While the arbitration proceedings against Vidal and Miclat have not yet

  occurred, the Complaint alleges a chain of events indicating that the injury DOL

  complains of is imminent. Specifically, DOL alleges that: Vidal and Miclat signed

  contracts entitling Defendants to recoup lost profits and other costs and fees if they

  terminated their employment without “Good Reason” prior to a three-year term of

  employment; Vidal and Miclat did terminate their employment agreements prior to

  the three-year contract term; ACS wrote Vidal a letter threatening to seek damages

  of at least $24,000 if he followed through with his resignation; Defendants initiated

  arbitrations against both Vidal and Miclat alleging that they terminated their

  employment without “Good Reason” and seeking lost profits, attorneys’ fees, costs of




        2 Declaratory Judgment Act actions “are justiciable only in cases in which an

  ‘actual controversy’ exists,” and “[t]he relevant inquiry for this prerequisite is
  coextensive with the analysis applicable to the ‘case or controversy’ standard
  embodied in Article III of the United States Constitution.” Dow Jones & Co. v.
  Harrods, Ltd., 237 F. Supp. 2d 394, 406 (S.D.N.Y. 2002). Therefore, the Court
  assesses DOL’s standing to seek injunctive and declaratory relief in tandem.
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  arbitration, and interest; and, if Vidal and Miclat were required to pay those

  damages, their net wages would be brought below what the FLSA requires. DOL also

  alleges that Defendants “have a policy and practice of entering into,” Am. Compl. at

  ¶¶ 112, 165, such contracts with employees, and have previously followed through on

  these contracts by “clawing back” former employees’ wages, id. at ¶¶ 113, 166. Taken

  together, these allegations create a “substantial risk that the harm” at issue here —

  that Defendants’ employees will not be paid their statutorily-required wages free and

  clear — “will occur.” Susan B. Anthony List, 573 U.S. at 158 (citation omitted).

        Despite Defendants’ assertions otherwise, the uncertainty associated with the

  outcome of the arbitration proceedings does not render Vidal’s and Miclat’s injuries

  impermissibly attenuated. Indeed, courts have consistently found the injury in fact

  requirement satisfied where plaintiffs’ injuries might hinge on future legal

  proceedings.   For example, courts have found that plaintiffs who are seeking a

  declaratory judgment relating to a proceeding that has not yet been filed have shown

  “a sufficient likelihood of future injury” based on that future proceeding. Gov’t Emps.

  Ins. Co. v. Saco, No. 12-cv-5633, 2014 WL 639419, at *8 (E.D.N.Y. Feb. 14, 2014); see

  also Maryland Cas. Co. v. Pac. Coal & Oil Co., 312 U.S. 270, 274 (1941).

        Additionally, the Second Circuit has reached the same conclusion in an

  employment-related case. In Xin Wei Lin v. Chinese Staff & Workers’ Association,

  No. 11-cv-3944, 2012 WL 5457493, at *1 (S.D.N.Y. Nov. 8, 2012), plaintiffs brought

  claims against labor organizations based on “contracts in which [p]laintiffs promised

  to pay [the labor organizations] portions of any recovery that [p]laintiffs received from



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  lawsuits against their employers[.]” On appeal, the Second Circuit determined that

  the plaintiffs had “alleged a sufficient likelihood of future injury stemming from”

  those contracts. Xin Wei Lin v. Chinese Staff & Workers’ Ass’n, 527 F. App’x 83, 87

  (2d Cir. 2013) (unpublished). The plaintiffs had not yet paid the labor organizations

  the amounts owed under some of those agreements, and the labor organizations had

  not brought suit to enforce the agreements. Yet the Court found that the plaintiffs’

  allegations of the organizations’ efforts to collect the payments rendered the

  likelihood of future injury “more than hypothetical or conjectural, and sufficiently

  concrete and imminent to create standing for declaratory and injunctive relief.” Id.

        Similarly, in Ketner v. Branch Banking & Trust Co., 143 F. Supp. 3d 370, 375

  (M.D.N.C. 2015), plaintiffs disputed their former employer’s requirement that they

  repay costs for a mandatory training associated with their employment if they

  resigned before completing a five-year term of employment. The defendant moved to

  dismiss for lack of standing because the plaintiff had “not repaid any portion of his

  loan obligation.” Id. at 382. Because the plaintiff alleged that the former employer

  had demanded payment, threatened legal action, and enforced the repayment

  agreement against other former employees, the court concluded that the plaintiff’s

  injury was “neither speculative or hypothetical” but based on “an objective and

  reasonable apprehension of future litigation.” Id. at 383 (citation omitted).

        So too, here. Defendants have taken concrete steps to recoup the costs owed to

  them pursuant to the employment agreements signed by Vidal and Miclat. Beyond

  merely threatening litigation as the defendants did in Xin Wei Lin and Ketner,



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  Defendants initiated arbitrations against both Vidal and Miclat. 3      While those

  arbitrations are presently stayed due to a court order in parallel litigation,

  Defendants have made no indication that they will not seek to proceed with the

  arbitrations absent such judicial intervention. Accordingly, the likelihood of future

  injury in this case is “sufficiently concrete and imminent to create standing for

  declaratory and injunctive relief.” Xin Wei Lin, 527 F. App’x at 87.

        It is true that the specific harms DOL alleges have been suffered by Vidal and

  Miclat to date can only be redressed by injunctive or declaratory relief. At present,

  because Vidal and Miclat (unlike the other unnamed employees in the complaint)

  have not paid Defendants the breach of contract damages that Defendants are

  seeking through arbitration, “an award of money damages will not redress” their

  injuries, and “they lack standing for such claims.” Id. at 87. But “[t]he FLSA grants

  the Secretary of Labor the right ‘to bring an action by or on behalf of any employee’

  to recover unpaid minimum wages or overtime compensation.” Solis v. SCA Rest.

  Corp., 938 F. Supp. 2d 380, 394 (E.D.N.Y. 2013) (quoting 29 U.S.C. § 216(c)). And

  here, DOL also brings this lawsuit on behalf of certain unnamed former employees

  who were subject to similar treatment as Vidal and Miclat, and whose wages



        3 Defendants’ assertion that any injury to Vidal and Miclat is too speculative

  because damages would have to be determined by an arbitrator, Opening Br. at 21;
  Reply Br. at 16 n.3, is a red herring. While the defendants in Xin Wei Lin and Ketner
  sought concrete amounts of money from the plaintiffs, an adjudicator in those cases
  would still have had to determine that the defendants’ demands could be enforced
  before the employees were required to make any payments. That an arbitrator,
  rather than another adjudicator, would determine liability and the precise amount of
  damages in this case is a distinction without a difference.

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  Defendants allegedly “followed through with clawing back . . ., obtaining the return

  of those wages and bringing employees’ compensation below the levels required by

  the FLSA.” Am. Compl. at ¶¶ 5, 7. 4 The harm that DOL alleges as to those employees

  — namely, that their compensation has been reduced to below the levels protected by

  the FLSA because Defendants have already succeeded in unlawfully “clawing back”

  their wages — is “concrete, particularized, and actual.” Thole v. U. S. Bank N.A, 140

  S. Ct. 1615, 1618 (2020). Accordingly, DOL has standing to pursue the monetary

  damages allegedly owed to these employees under the FLSA.

        II.    Failure to Allege FLSA Violations

        Defendants also seek to dismiss DOL’s Complaint for failure to state a claim.

  DOL brings two causes of action under the FLSA. First, it claims that Defendants

  violate Sections 6(a) and 15(a)(2) of the FLSA, which require employers to pay

  employees certain minimum wages. See 29 U.S.C. § 206(a). Second, it claims that



        4  To the extent Defendants contend that the Court must ignore DOL’s
  allegations as to the unnamed employees because they are not sufficiently specific,
  this Court disagrees. While the Second Circuit has set forth certain requirements for
  pleading FLSA claims, it has also held that “[w]hat aspects of Plaintiffs’ position, pay,
  or dates of employment are necessary to state a plausible claim for relief consistent
  with [those requirements] is a case-specific inquiry for the trial court.” Nakahata v.
  New York-Presbyterian Healthcare Sys., Inc., 723 F.3d 192, 201 (2d Cir. 2013)
  (emphasis in original). Here, the Court concludes that the specific allegations as to
  Vidal and Miclat, together with DOL’s allegations that Defendants engaged in a
  broad practice of entering into similar contracts with other employees, render the
  allegations as to the unnamed employees plausible at this juncture. Acosta v. A.C.E.
  Rest. Grp., Inc., No. 15-cv-7149, 2017 WL 2539387, at *2 (D.N.J. June 12, 2017)
  (concluding that the Secretary of Labor’s complaint “satisfie[d]” the FLSA overtime
  “pleading standard by alleging examples of dates and times when employees worked
  in excess of forty hours in a work week without the benefit of overtime compensation.”
  (emphasis supplied)); Su v. Ernie’s Auto Detailing Inc., No. 20-cv-17785, 2023 WL
  8643794, at *3 (D.N.J. Dec. 14, 2023) (similar).
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  Defendants violate Sections 7(a) and 15(a)(2) of the FLSA, which require employers

  to pay employees certain overtime wages if the employees work over forty hours in a

  week. See 29 U.S.C. § 207(a). “To state an FLSA minimum wage claim, it is sufficient

  for a plaintiff to allege facts about her salary and working hours, such that a simple

  arithmetical calculation can be used to determine the amount owed per pay period.”

  Lopez-Serrano v. Rockmore, 132 F. Supp. 3d 390, 402 (E.D.N.Y. 2015) (cleaned up).

  And “to state a plausible FLSA overtime claim, a plaintiff must sufficiently allege 40

  hours of work in a given workweek as well as some uncompensated time in excess of

  the 40 hours.” Lundy v. Cath. Health Sys. of Long Island Inc., 711 F.3d 106, 114 (2d

  Cir. 2013).

        Defendants argue that, for similar reasons that DOL lacks standing, it fails to

  state a claim for violations of these FLSA provisions. That is, “[b]ecause DOL does

  not allege that Defendants paid their employees less than minimum wage or the

  overtime wages to which they are entitled, its Amended Complaint should be

  dismissed.” Opening Br. at 14.

        In their motion to dismiss, Defendants contend that DOL’s claims fail because

  it has only made allegations regarding Vidal’s and Miclat’s earnings—it has not

  alleged that those earnings have “been reduced below the FLSA floor.” Opp’n Br. at

  18. However, the string of cases Defendants cite in support of that proposition are

  distinguishable.   In those cases, the plaintiffs alleged that their employers had

  already failed to pay them what the FLSA requires but failed to show that the actual

  wages they received were less than what the FLSA requires. Those plaintiffs failed,



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  for example, to demonstrate that they were, in fact, paid below FLSA minimums,

  Marcial v. New York Hudson Fam. Rest. Inc., No. 18-cv-0663, 2019 WL 1900336, at

  *6 (S.D.N.Y. Apr. 29, 2019), or to allege their earnings with specificity, e.g., Walsh v.

  Lalaja, 565 F. Supp. 2d 766, 772 (E.D.N.C. 2021).

        Here, by contrast, DOL is not alleging that Defendants set an hourly pay rate

  or otherwise failed to pay Vidal and Miclat what the FLSA requires in the first

  instance. Rather, DOL alleges that Defendants are pursuing damages in arbitrations

  that, if obtained, would bring Vidal’s and Miclat’s take-home wages below FLSA

  minimums. Unlike the plaintiffs in Defendants’ cited cases, DOL pleads specific facts

  about the hours Vidal and Miclat worked during particular weeks, what they were

  paid for those weeks, the amounts of money Defendants are seeking to recoup from

  them through arbitration, and the effect that would have on their wages. 5



        5 Specifically, DOL alleges that Vidal was paid $20,372.90 in gross wages for

  his entire period of employment (for a total of 512.51 hours), $1,480.50 in gross wages
  for 40.75 hours of work the week ending April 9, 2022, and $839.04 in gross wages for
  22.08 hours of work in his last week of work. Compl. ¶¶ 105–10. DOL further alleges
  that ACS has demanded $24,000 in future profits, id. ¶ 99, and has already incurred
  a $1,900 filing fee and $750 case management fee in connection with the arbitration
  against him, id. ¶ 103. DOL thus alleges that Defendants’ demand for future profits,
  attorneys’ fees, arbitration costs, and interest “would bring Vidal below the FLSA
  minimum wage during his final workweek,” and below the FLSA minimum wage and
  required overtime rate (in overtime workweeks) for his entire period of employment
  with ACS. Id. ¶¶ 106–07.

        Additionally, the Complaint alleges that Miclat was paid $2,987.18 in gross
  wages for 65.74 hours the week ending June 25, 2022, $2,994.59 in gross wages for
  65.87 hours the week ending July 23, 2022, $2,166.95 in gross wages for 51.35 hours
  the week ending November 12, 2022, and $1,385.10 in gross wages for 36.45 hours of
  work in her last week of work. Compl. ¶¶ 159–63. The Complaint further alleges
  that PCS has already incurred a $2,200 filing fee in connection with the arbitration


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        Therefore, while Defendants are correct that plaintiffs must plead FLSA

  claims with specificity, DOL has plainly done so with its allegations as to Vidal and

  Miclat. It is true that the Complaint does not allege that Defendants already clawed

  back Vidal’s and Miclat’s wages below what the FLSA requires.            But the cases

  Defendants cite do not hold that a past FLSA violation is a prerequisite to bringing

  an enforcement action under the statute. While this Court is unaware of any case

  law within this circuit on the issue, DOL points to persuasive out of circuit cases that

  allowed actions to prevent employers from collecting FLSA “kick-backs” to proceed,

  despite the fact that the plaintiffs had not yet paid the alleged “kick-backs” to their

  employers. See Stein v. HHGREGG, Inc., 873 F.3d 523, 534–35 (6th Cir. 2017);

  Ketner, 143 F. Supp. 3d at 382–84.

        Absent a requirement that a plausible FLSA claim allege a prior violation of

  the statute’s wage mandates, the Court understands Defendants’ 12(b)(6) argument

  as a restatement of their previous contention that DOL lacks standing. This Court

  already rejected Defendants’ Article III argument. Dressed up as a motion to dismiss



  against her. Id. ¶ 157. DOL thus alleges that Defendants’ demand for future profits,
  attorneys’ fees, arbitration costs, and interest, would bring her “below the FLSA
  minimum wage during her final workweek.” Id. ¶ 160.

         Finally, Defendants suggested at oral argument that they are no longer
  seeking to shift the costs at arbitration to their employees. Tr. of Mar. 21, 2024
  Proceedings at 14:23–25, ECF No. 36. To the extent Defendants argue that, despite
  their contractual prerogative to do so, they are no longer seeking to shift arbitration
  costs to their employees, the Court does not consider that assertion at this juncture
  because “[i]n considering a motion to dismiss for failure to state a claim, a district
  court must limit itself to the facts stated in the complaint, documents attached to the
  complaint as exhibits and documents incorporated by reference in the complaint.”
  Hayden v. Cty. of Nassau, 180 F.3d 42, 54 (2d Cir. 1999).
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  for failure to state a claim for relief under the FLSA, that argument fares no better.

  Accordingly, for the reasons stated in Section III.A.2, supra, DOL has sufficiently

  alleged that Defendants’ conduct violates the FLSA.

        III.   Failure to Allege Contract Damages are “Kick-backs”

        Finally, Defendants argue that DOL’s Complaint fails to state a claim because

  the theory of its case fails as a matter of law. The parties’ dispute centers on an FLSA

  implementing regulation, which states that:

        Whether in cash or in facilities, “wages” cannot be considered to have
        been paid by the employer and received by the employee unless they are
        paid finally and unconditionally or “free and clear.” The wage
        requirements of the Act will not be met where the employee “kicks-back”
        directly or indirectly to the employer or to another person for the
        employer’s benefit the whole or part of the wage delivered to the
        employee. This is true whether the “kick-back” is made in cash or in
        other than cash. For example, if it is a requirement of the employer that
        the employee must provide tools of the trade which will be used in or are
        specifically required for the performance of the employer’s particular
        work, there would be a violation of the Act in any workweek when the
        cost of such tools purchased by the employee cuts into the minimum or
        overtime wages required to be paid him under the Act.

  29 C.F.R. § 531.35.

        DOL argues that, by seeking to recoup lost profits, arbitration costs, and

  attorneys’ fees from their former employees, Defendants are unlawfully kicking back

  the employees’ wages and violating their duty under the FLSA to pay employees free

  and clear. Defendants contend that this argument fails because contract damages

  cannot constitute “kick-backs” in this context.

        While there are few reported cases addressing whether damages sought for

  breach of contract may be considered illegal “kick-backs” under FLSA, the parties

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  jointly rely on a small body of cases addressing whether employers’ training cost

  repayment policies violate the FLSA that helps guide this Court’s reasoning. The

  first of those cases is Gordon v. City of Oakland, 627 F.3d 1092, 1093 (9th Cir. 2010),

  wherein the Ninth Circuit considered a “policy requiring police officers to repay a

  portion of their training costs if they voluntarily leave the City’s employment before

  completing five years of service.” 6 The plaintiff, who was required to repay the City

  $6,500 at the time of her resignation, argued that the policy violated the FLSA

  because, “subtracting the costs she paid to the City for the training program, she was

  actually paid a negative sum for her last week of work.” Id. at 1095. The Ninth

  Circuit rejected the plaintiff’s argument because the payment she “made to the City

  is repayment of a voluntarily accepted loan, not a kick-back.” Id. at 1096.

        Relying on Gordon, courts have rejected FLSA “kick-back” claims where

  employees challenged policies requiring them to repay their employers for fees upon

  their termination where the fee “corresponds to the maximum value of the training”

  the employer provided the employee, Park v. FDM Group (Holdings) PLC, No. 16-cv-

  1520, 2017 WL 946298, at *4 (S.D.N.Y. Mar. 9, 2017), vacated in part on other

  grounds, Park v. FDM Grp., Inc., No. 16-cv-1520, 2018 WL 4100524 (S.D.N.Y. Aug.

  18, 2018), or was “incurred for [the] employee’s benefit,” Bland v. Edward D. Jones &

  Co., L.P., 375 F. Supp. 3d 962, 977 (N.D. Ill. 2019). But at least one court has found



        6 Gordon and its progeny rely on a Seventh Circuit decision, Heder v. City of

  Two Rivers, 295 F.3d 777 (7th Cir. 2002), which upheld a requirement that former
  employees repay training costs. However, because Heder considered whether the
  agreement in question “was valid and enforceable under Wisconsin law,” the Court
  does not rely on that case here. Ketner, 143 F. Supp. 3d at 383 (emphasis supplied).
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  that where the training program did not confer to the employee “any benefit that is

  recognized within the broader marketplace or to him as an associate,” the

  requirement that the employee repay the costs of the training program could

  constitute a “kick-back” that violates the FLSA. Ketner, 143 F. Supp. 3d at 384.

        Taken together, these cases articulate a coherent framework for assessing

  FLSA “kick-back” claims. That is, a policy requiring employees to repay costs that

  the employer incurred for the employees’ benefit — such as “training costs for

  portable licenses and certifications,” McClain v. Cape Air, No. 22-cv-10649, 2023 WL

  3587284, at *6 (D. Mass. May 22, 2023) — does not constitute a “kick-back” under the

  FLSA. But if the incurred costs primarily benefit the employer, they cannot lawfully

  be shifted to the employees. That framework accords with the FLSA statute and

  regulations, which state that “‘kick-back[s]’ . . . for the employer’s benefit” violate the

  statute’s wage requirements, 29 C.F.R. § 531.35 (emphasis supplied), and while “the

  reasonable cost” of furnishing an employee “with board, lodging, or other facilities,”

  can be included in the calculation of an employee’s wage, 29 U.S.C. § 203(m)(1), “the

  cost of furnishing ‘facilities’ which are primarily for the benefit or convenience of the

  employer will not be recognized as reasonable,” 29 C.F.R. § 531.32(c) (emphasis

  supplied)

        In Carmen v. Health Carousel, LLC, No. 1:20-cv-313, 2023 WL 5104066, at *15

  (S.D. Ohio Aug. 9, 2023), the District Court for the Southern District of Ohio applied

  that framework to deny a motion to dismiss an FLSA claim that closely resembles

  the instant case. There, as here, plaintiffs brought a case against a recruiting and



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  staffing company “that enlists foreign nurses, primarily from the Philippines, to work

  in healthcare facilities across the United States.” Id. at *2. The defendant staffing

  company sponsored nurses’ applications for permanent residence and, if the nurses

  terminated their employment before three years, required the nurses to pay

  liquidated damages. Id. In assessing the plaintiff’s claim that the liquidates damages

  provision constituted a “kick-back” under the FLSA, the court framed the issue as

  “whether any portion of the $20,000 liquidated damages” that the plaintiff paid the

  defendant “was intended to recoup expenses incurred for [the defendant’s] benefit.”

  Id. at *14. Because the plaintiff “plausibly alleged that $8,000 of her liquidated

  damages covered [the defendant’s] own operating expenses,” and “an $8,000 kickback

  would reduce [the plaintiff’s] net pay below zero,” the Court held that the plaintiff

  “ha[d] nudged th[e FLSA] claim into the realm of plausibility.” Id. at *15.

        Applying that same test here, the Court concludes that DOL plausibly alleges

  that at least some of the damages Defendants seek to collect through arbitration are

  for Defendants’ benefit and thus constitute an unlawful “kick-back.” Most notably,

  in their contracts, Defendants reserve the right to recover “loss of profits (reflecting

  not only loss of anticipated profits under this Agreement but also resulting from the

  impact of Employer’s relationships with its clients)” if the employees do not fulfill

  their three-year contract. ACS Contract at 6 (emphasis supplied). The contracts also

  require employees to reimburse Defendants “for all reasonable costs, including all

  attorneys’ fees that Employer incurs in enforcing its rights and remedies.” Id. at 7.

  In line with those provisions, Defendants specifically sought “lost profits,”



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  “reasonably attorneys’ fees,” and arbitration costs in their arbitration demand letters

  against Vidal and Miclat. Vidal Arbitration Demand at 7, Miclat Arbitration Demand

  at 8. The Court agrees with DOL that these sought-after damages “are categorically

  for Defendants’ benefit.” Opp’n Br. at 19.

        Nevertheless, Defendants appear to contend that their requested damages

  cannot constitute “kick-backs” because they do not seek a specified amount of money

  from their employees; rather, they have demanded that these employees appear at

  arbitration, where they seek “all available damages.” See Reply Br. at 7. Quite the

  opposite. That Defendants specifically seek to recover categories of damages that

  inherently benefit them only bolsters DOL’s “kick-back” claim. Unlike in Carmen,

  where the court had to inquire into how the liquidated damages would be used, the

  contracts here demarcated which damages would recover costs Defendants incurred

  for their employees’ benefit (such as certain credentialing costs, which DOL does not

  challenge), and which costs they incurred for their own benefit (such as the lost profits

  at issue here).

        Of course, Defendants “may eventually show, with additional facts, that” the

  damages they seek were incurred primarily for their employees’ benefit. Carmen,

  2023 WL 5104066, at *15. But at this juncture, DOL’s allegations that Defendants

  initiated arbitrations to pursue “loss of anticipated profits,” arbitration costs and fees,

  and attorney’s fees are enough to survive Defendants’ motion to dismiss. Whether

  the damages Defendants seek do, in fact, constitute “kick-backs” “is best resolved

  with the benefit of discovery.” McClain, 2023 WL 3587284, at *7.



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          Finally, the Court is not persuaded by the parade of horribles that Defendants

  predict will result from a decision allowing DOL’s lawsuit to proceed to discovery.

  Contrary to Defendants’ foreboding characterization, by concluding that the damages

  Defendants seek could amount to “kick-backs” under the FLSA, the Court is not

  holding that “any employment agreement with an arbitration provision would violate

  the FLSA . . . if the employee might have to pay contractual damages to the non-

  breaching employer.” Opening Br. at 28.

          In Mayhue’s Super Liquor Stores, Inc. v. Hodgson, 464 F.2d 1196, 1198 (5th

  Cir. 1972), the Fifth Circuit explained that while an employer could not, under the

  FLSA, require employees to repay cash register shortages they did not cause, an

  employer could require employees to repay cash register shortages that could be

  specifically attributed to the employees’ theft. In determining that the FLSA could

  preclude the sought-after damages here, the Court’s decision is not in tension with

  Mayhue’s holding; as there, employers remain free to recoup costs that “obviously

  would not collide with the Act.” Id. Put differently, the Court does not hold that

  employers can never seek contract damages based on their employees’ wrongdoing;

  nor does it hold that such claims can never be subject to arbitration. Rather, it simply

  concludes that on these facts, DOL has plausibly alleged that the damages

  Defendants seek to collect from the employees described in the Complaint violate the

  FLSA.

                                     CONCLUSION

          For the foregoing reasons, Defendants’ motion to dismiss Plaintiff’s Complaint



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  is denied.

        SO ORDERED.


                                          /s/ NRM
                                        NINA R. MORRISON
                                        United States District Judge

  Dated: May 8, 2024
         Brooklyn, New York




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